           Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 1 of 8 PAGEID #: 2577

1\0 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                         Sheet I



                                              UNITED STATES DISTRICT COURT
                                                          Southern District of Ohio
                                                                          )
               UNITED STATES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                    V.                                    )
                         BRANDON HENRY                                    )
                                                                                  Case N umber: 3:19cr137(15)
                                                                          )
                                                                          )       USM N umber: 78871-061
                                                                          )
                                                                          )        Jeffrey R. McQuiston
                                                                          )       Defendant 's /\Horney
THE DEFENDANT:
Ii'.! pleaded guilty to count(s)         1O
                                      - - - - - -- -- - - - -- - -- -- -- - -- - - -- -- - - - - - - -
•   pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                      Offense Ended

21 U.S.C. § 841(a)(1)               Possession With Intent to Distribute a Mixture or Substance            8/8/2019                 10

and (b)(1)(C)                       Containing a Detectable Amount of Methamphetamine, a

                                    Schedule II Controlled Substance

       The defendant is sentenced as provided in pages 2 through         _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s) -1-and 18          D                          is     Ii'.! are dismissed on the motion of the United States.
                 --'-----------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economtc circumstances.

                                                                                                          10/23/2020
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judge




                                                                                       Walter H. Rice, United States District Judge
                                                                         Name and Title of Judge


                                                                                                          11/4/2020
                                                                         Date
              Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 2 of 8 PAGEID #: 2578
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                    Judgment - Page   -=2- of   8
 DEFENDANT: BRANDON HENRY
 CASE NUMBER: 3:19cr137(15)

                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  24 months, with credit for all allowable pre-sentence jail time served.




      ~ The court makes the following recommendations to the Bureau of Prisons:
         See page 3.




      Ill   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
            D at _ _ _ _ _ _ _ _ D a.m.                       D p.m.       on
            D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at
      -------------- ,
                                                     with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL


                                                                          By----------------------
                                                                                               DEPUTY UNITED STATES MARSHAL
          Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 3 of 8 PAGEID #: 2579

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 2A - Imprisonment
                                                                                          Judgment-Page   _3_ of -~8'--_
DEFENDANT: BRANDON HENRY
CASE NUMBER: 3:19cr137(15)

                                      RECOMMENDATIONS TO THE BUREAU OF PRISONS
 The Court recommends that the defendant receive credit for all allowable pre-sentence jail time served.

 The Court recommends that the defendant be incarcerated as close to the Dayton, Ohio, area as possible consistent with
 his security status.

 The Court strongly recommends that the defendant be made eligible for and enrolled in any and all available drug
 treatment.

 The Court recommends that the defendant receive any and all available Job Training. If training for a commercial driver's
 license is available, and defendant is interested, he should be enrolled in such.

 The Court recommends that the defendant be enrolled in a class for cognitive behavioral thinking/thinking for a
 change/critical thinking skills/moral reconation therapy.

 The Court recommends that the defendant receive a mental health assessment and, if deemed necessary, counseling.

 The Court recommends that the defendant involve himself in NA/AA meetings.

 The Court recommends that the defendant receive training and programming in Parenting.
             Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 4 of 8 PAGEID #: 2580
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page    4      of _   __;;8:;..__
DEFENDANT: BRANDONHENRY
CASE NUMBER: 3:19cr137(15)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tenn of:
 5 years. If, after the 3 year mark, the probation officer believes that defendant has received the maximum benefit from
 probation, a request for early termination should be presented to the Court for consideration.




                                                      MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
              D The above drug testing condition is suspended, based on the court's detennination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
            Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 5 of 8 PAGEID #: 2581
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page         5
                                                                                                                 ---- 0        r         a
                                                                                                                                   _ _____;;__ __
DEFENDANT: BRANDON HENRY
CASE NUMBER: 3:19cr137(15)

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
             Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 6 of 8 PAGEID #: 2582
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                                 Judgment-Page     6     of         8
DEFENDANT: BRANDONHENRY
CASE NUMBER: 3:19cr137(15)

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant must make himself available for substance abuse testing at least once during the first 15 days of
 supervision and no fewer than twice thereafter and treatment, in-patient or out-patient, at the discretion of the probation
 officer. The defendant shall make a co-payment for treatment services not to exceed $25.00 per month, which is
 determined by the defendant's ability to pay.

 2. The first thirty (30) days of supervision are to be spent in an inpatient dual diagnosis facility followed by that facility's
 rigid after-care program.

 3. The defendant shall seek and maintain employment throughout the period of supervision and/or participate in a
 verifiable, certified vocational services/job training program as directed by the probation officer. If commercial driver's
 license training is available, and defendant is interested, he should be enrolled in such.

 4. The defendant shall perform 100 hours of community service with an agency approved in advance by the probation
 officer within the first two (2) years of supervision. The Court will substitute each hour spent in a verified, certified course of
 Job Training for one hour of Community Service on a 1: 1 ratio.

 5. The defendant is to participate in AA/NA meetings and obtain a sponsor.

 6. The defendant is to enroll in a parenting class.

 7. The defendant is to be enrolled in a course of moral reconation/thinking for a change/cognitive behavioral
 therapy/critical thinking skills.

 8. The defendant is to receive a mental health assessment and counseling, if deemed necessary. The defendant shall
 make a co-payment for treatment services not to exceed $25.00 per month, which is determined by the defendant's ability
 to pay.

 9. The defendant is not to drive without a valid driver's license.
             Case: 3:19-cr-00137-WHR Doc #: 448 Filed: 11/04/20 Page: 7 of 8 PAGEID #: 2583
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                              7_ of
                                                                                                           Judgment - Page ____            8
DEFENDANT: BRANDON HENRY
CASE NUMBER: 3:19cr137(15)
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                                          AVAA Assessment*        JVTA Assessment**
 TOTALS           $    100.00               $                          $                         $                       $



 D    The detennination of restitution is deferred until
                                                         -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such detennination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the prioricy or~er or perc~ntage payment column below. However, pursuant to 18U.S.C. § 3664(i}, all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                   Total Loss***                   Restitution Ordered     Priority or Percentage




 TOTALS                               $ ______                   o_.o_o_         $ _ _ _ _ _ _0_._00_



 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

        D   the interest requirement is waived for the           D    fine   D    restitution.

        D the interest requirement for the           D    fine       D restitution is modified as follows:

 * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
  ** Justice for ictims of Trafficking Act of2015, P_ub. L. No. 114-22.                                .                        .
  *** Findings for the total amount oflosses are reqmred under Chapters 109A, 110, 1 IOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev.Case:   3:19-cr-00137-WHR
             09/19) Judgment  in a Criminal Case          Doc #: 448 Filed: 11/04/20 Page: 8 of 8 PAGEID #: 2584
                    Sheet 6 - Schedule of Payments
                                                                                                                                   8_ of
                                                                                                                  Judgment- Page ___             8
DEFENDANT: BRANDON HENRY
CASE NUMBER: 3:19cr137(15)

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    !ti    Lump sum payment of$         100.00
                                        ----'-''----=--'-=---=-------
                                                                        due immediately, balance due

             D     not later than                                             , or
             Ill   in accordance with   •     C,      •      D,         Ill    E, or     ~ F below; or

 B    D Payment to begin immediately (may be combined with                             D C,     D D, or     D F below); or
 C    D Payment in equal         _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                                       to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or
            _ _ _ _ _ (e.g., months or years),

 D    D Payment in equal          _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
            _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E    ~      Payment during the term of supervised release will commence within 60 days          (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ~      Special instructions regarding the payment of criminal monetary penalties:
              If the defendant, while incarcerated,is working in a non-UNICOR or grade 5 UNICOR job, the defendant shall pay
              $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR job, defendant shall
              pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule shall be
              made only by order of this Court. After release from imprisonment.and within 60 days of the commencement of the
              term of supervised release.the probation officer shall recommend a revised payment plan to satisfy the balance.

 Unless the court has expressly ordered otherwise, ifthis jud~ent imposes imprisonment, payment ofcriminal mone!at'Y penalties is due during
 the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                            Joint and Several          Corr~sponding_ Payee,
      (including defendant number)                                Total Amount                         Amount                    1f appropnate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:



 Pa}'!!lents shall be a_pplied in the following order: (I) assessment, (2) restitution principal, (3} restitution interest, (4) AVAA assessment,
 (SJ fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
